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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Criminal Case No. 17-cr-00168-CMA

 UNITED STATES OF AMERICA,

               Plaintiff,

 v.

 KAREN MC CLAFLIN,

            Defendant.
 _____________________________________________________________________

    EMERGENCY MOTION TO STAY MAY 14, 2019 SELF-SURRENDER ORDER
 _____________________________________________________________________

        Karen McClaflin, though counsel, moves to moves for a stay of execution of the

 self-surrender order. Given, Ms. McClaflin’s documented history of medical intervention

 and need for multi-week intravenous antibiotic injections from a PICC line, Ms.

 McClaflin moves to stay the April 9, 2019 self surrender order for at least three to four

 weeks. In support of this motion, Ms. McClaflin states the following:

        Ms. McClaflin has been ordered to surrender to the Federal Medical Center in

 Carswell, Texas, on May 14, 2019.

        The Court has been apprised of Ms. McClaflin’s ongoing medical issues for at

 least the last year. The most threatening issue continues to be the deep infection or

 infections that Ms. McClaflin has experienced which have caused surgeries to remove

 all remaining prosthetic devices from her hip leaving nothing to connect her thigh to her

 hip other than an exterior brace, and the recurring return of the deep tissue infection

 that requires a combination of antibiotics to be administered intravenously.


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        Counsel for Ms. McClaflin received another email for Ms. McClaflin’s friend and

 at least part-time caretaker, Jessica Wulf. On May 8, 2019, Ms. Wulf stated that

 essentially Ms. McClaflin’s condition has not changed except that stitches have been

 removed and that the IV antibiotics should be ending sometime in the next two weeks.

 Ms. McClaflin has lost some more weight and continues to live with extreme pain.

        Counsel has not received medical updates from Ms. McClaflin’s doctors. Ms.

 Wulf appears to be in the process of obtaining the necessary medical records updates

 and counsel will forward Ms. Wulf’s May 8, 2019 email as a confidential medical record.

 The most recent description from Ms. Wulf suggests that Ms. McClaflin remains in the

 same position she has been in since approximately May, 2018, with only slight

 improvement such that the stitches have been removed. The deep tissue infection due

 to a combination a complex bacteria that continue to ravage her hip and threaten to

 spread continues to be treated with antibiotics through a PICC line to deliver very strong

 antibiotics which, while necessary to fight the infection, also have a damaging effect on

 her body.

        Counsel believes that it is necessary to inform the Court that this motion is being

 drafted from Spain. This vacation was planned over six months ago and counsel had

 no way of knowing that Ms. McClaflin’s condition would continue in such a manner as to

 be extremely serious to the point of possibly being life threatening if she were to self-

 surrender to the FMC Carswell. Counsel had hoped to provide the updated medical

 records before leaving the country, but at least the Court will have Ms. Wulf’s

 description which has been sent separately to AUSA Pegeen Rhyne. Counsel did

 exchange emails with Ms. Rhyne but does not know her position regarding this motion.

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 Counsel would like to receive the most up to date medical records and provide them to

 the Court and the government upon returning to Colorado on May 26, 2019.

       WHEREFORE, Ms. McClaflin moves stay the order of self-surrender for at least

 three to four weeks to allow sufficient time to obtain updated medical records from Dr.

 Miner and Dr. Brookmeyer, and to determine her current medical status and prognosis

 for the immediate future.

                                                 Respectfully submitted,

                                                 s/ Thomas J. Hammond
                                                 Thomas J. Hammond
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                                                 Attorney for Karen McClaflin


                              CERTIFICATE OF SERVICE

        I hereby certify that May 12, 2019, I electronically filed the foregoing
 EMERGENCY MOTION TO STAY MAY 14, 2019 SELF-SURRENDER ORDER with
 the Clerk of the Court using the CM/ECF filing system which will send notification of
 such filing to the appropriate parties.

 s/ Thomas J. Hammond
 Thomas J. Hammond




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